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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA


Adam Potter,                                               Court File No.

                     Plaintiff,
                                                                 COMPLAINT WITH
vs.                                                               JURY DEMAND

Leisure Suites, LLP,

                    Defendant.



                                         INTRODUCTION

1. This is an action for money damages and declaratory and injunctive relief brought pursuant

      to the Americans with Disabilities Act (ADA) and the Minnesota Human Rights Act

      (MHRA).

2. It is alleged that the Defendant unlawfully discriminated against Plaintiff under the ADA and

      MHRA when Defendant’s staff refused Plaintiff access to Defendant’s business and provided

      Plaintiff unequal and substandard service as compared to other similarly situated customers,

      all because of Plaintiff’s disability and Plaintiff’s attempts to access Defendant’s business

      with a service dog.


                                          JURISDICTION

3. Jurisdiction is based upon 28 U.S.C. §§ 1331 and 1343, and on the pendent jurisdiction of

      this Court to entertain claims arising under state law pursuant to 28 U.S.C. § 1367.




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                                             VENUE

4. This Court is the proper venue for this proceeding under 28 U.S.C. § 1391, as the material

   events and occurrences giving rise to Plaintiff’s cause of action occurred within the State of

   Minnesota.


                                            PARTIES

5. Plaintiff Adam Potter is an individual person and was at all material times a resident of the

   State of Minnesota and of full age.

6. Defendant Leisure Suites, LLP, is a Minnesota business entity and is registered as such with

   the Minnesota Secretary of State. Defendant Leisure Suites, LLP owns, manages, and

   operates the Leisure Suites – Breezy Point Resort, located at 30199 County Rd. 4 North,

   Breezy Point, MN 56472.



                                             FACTS

7. Plaintiff Adam Potter resides in Hastings, MN, with his wife and children.

8. Mr. Potter is a military combat veteran. He served 5 ½ years in the Army and was deployed

   twice, fist to Afghanistan and then to Iraq. During his Army deployments, Mr. Potter

   conducted hundreds of patrols, raids and other missions.

9. While serving in Iraq, Mr. Potter was involved in numerous missions that resulted in horrific

   injuries and casualties. Mr. Potter lost his best friend in a land mine explosion in Iraq. He lost

   another friend in a helicopter crash, and his platoon was the first to respond to the crash

   scene. During the rescue efforts, Mr. Potter personally removed his deceased friend from the

   wrecked helicopter and placed him in a body bag. These were just several of many disturbing

   events Mr. Potter experienced while serving in a war zone.


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10. Mr. Potter was honorably discharged in January of 2008, at which time he returned home to

   Minnesota. Later that same year, Mr. Potter was diagnosed with PTSD, stemming directly

   from the horrors and loss he experienced during his Army service. Mr. Potter’s symptoms

   include anxiety, panic attacks, mood swings, flashbacks, and nightmares. Mr. Potter’s panic

   attacks and mood swings are often triggered by stressful events associated with daily life and

   can strike at anytime. Mr. Potter is under the medical and psychological care of the

   Minneapolis VA Health Care System. Mr. Potter continues to struggle with his PTSD

   symptoms on a daily basis.

11. In 2018, due to his continued struggles, Mr. Potter started to research and consider other

   alternatives for coping with PTSD symptoms. As part of his research, Mr. Potter learned that

   service animals, and specifically service dogs, have offered substantial assistance to other

   military veterans struggling with PTSD-related challenges. Mr. Potter has had dogs at various

   parts throughout his life and, based on his research, he determined that a service dog would

   likely be very helpful with managing his panic attacks and mood swings. Mr. Potter

   discussed this issue with his VA psychologist. In December of 2018, Mr. Potter’s

   psychologist expressed support for Mr. Potter’s idea and provided written documentation

   confirming as such.

12. Having consulted with his psychologist, Mr. Potter made contact with “Soldier’s 6,” which is

   a Minnesota nonprofit organization that provides specially-trained service dogs for honorably

   discharged veterans, police officers, and fire fighters. After reviewing Mr. Potter’s

   credentials and his psychologist’s recommendation, Soldier’s 6 agreed to provide Mr. Potter

   a service dog specifically trained to assist individuals suffering from PTSD.




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13. In July, 2020, Soldier’s 6 provided Mr. Potter a dog named “Breezer.” Breezer is a yellow

   Labrador Retriever who started his career as a Minnesota Wild pup in 2019. In 2020,

   Soldier’s 6 recovered Breezer from the Minnesota Wild and submitted him to a professional

   dog trainer where Breezer was specially trained to provide assistance with daily life

   challenges for veterans suffering with combat-related PTSD. Once his training was

   completed, Soldier’s 6 transferred Breezer to Mr. Potter.

14. Breezer assists Mr. Potter with daily life activities related to his PTSD symptoms by

   providing warnings of oncoming PTSD/panic attack episodes and assisting Mr. Potter in

   minimizing the severity of PTSD symptoms. Since acquiring Breezer, Mr. Potter has noticed

   a reduction in the frequency and severity of his PTSD symptoms.

15. In late December, 2020, Mr. Potter and his wife decided to take a short family vacation to a

   Minnesota resort to relax and spend some time with their children away from home. Mr.

   Potter’s in-laws had available timeshare at Defendant’s Leisure Suites – Breezy Point Resort

   and offered Mr. Potter and his family access to their timeshare for the period of January 2 –

   January 9, 2021. Mr. Potter’s father-in-law initially contacted Defendant to make a

   reservation for Mr. Potter and his family, which was not an issue for Leisure Suites and its

   staff. However, just as a courtesy, Mr. Potter’s father-in-law also advised Leisure Suites staff

   that Mr. Potter is a disabled Army veteran who has a service dog and that he will be staying

   at the resort with his service dog. Leisure Suites staff then requested to know why Mr. Potter

   has a service dog, and Mr. Potter’s father-in-law explained that Mr. Potter suffers from

   PTSD. Leisure Suites staff then advised Mr. Potter’s father-in-law that Mr. Potter would not

   be allowed on the property with Breezer because Breezer is an “emotional support” animal




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   which are not allowed on the property. Mr. Potter’s father-in-law attempted to reason with

   Defendant’s staff, but to no avail.

16. After speaking with Leisure Suites staff, Mr. Potter’s father-in-law advised Mr. Potter that

   Leisure Suites will not permit him onto their property with Breezer because Leisure Suites

   has decided to classify Breezer as a prohibited “emotional support” dog. Mr. Potter then

   called Leisure Suites himself and spoke to its staff by phone. Mr. Potter explained that he is a

   disabled veteran, that he suffers from PTSD, and that Breezer is a service dog specifically

   trained to assist Mr. Potter with his daily life struggles associated with PTSD. Leisure Suites

   staff told Mr. Potter the same thing they told his father-in-law, which was that PTSD is an

   emotional issue which makes Breezer a prohibited “emotional support” dog. Leisure Suites

   staff explained that “emotional support” dogs are not allowed onto their property and

   confirmed that Mr. Potter was not allowed to bring Breezer to the resort.

17. Mr. Potter then reached out to Soldier’s 6 hoping that the organization would reach out to

   Defendant and help convince its staff that Breezer was not an “emotional support” dog and

   that Leisure Suites’ refusal to allow Mr. Potter onto its property was an unlawful and

   discriminatory act.

18. On January 1, 2021, Ed Abrahamson, who is the President and founder of Soldier’s 6, called

   Leisure Suites and attempted to speak with its staff about its refusal to allow Breezer onto its

   property as well as its erroneous classification of Breezer as an “emotional support” dog. Mr.

   Abrahamson attempted to politely educate Leisure Suites’ staff about the ADA’s provisions

   pertaining to service animals and mediate Mr. Potter’s situation. However, Leisure Suites’

   staff rudely interrupted Mr. Abrahamson, told him, “This is none of your business,” and “I’m

   done talking,” and hung up on Mr. Abrahamson.



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19. Mr. Abrahamson reported his failed attempt to discuss the matter with Leisure Suites to Mr.

   Potter, at which time Mr. Potter and his family determined that there was nothing else they

   could do and terminated their attempts to make a reservation at Defendant’s Leisure Suites

   resort. As a result of Defendant’s actions, Mr. Potter and his family were denied service and

   access to Defendant’s resort and had to make other accommodations for their family

   vacation.

20. As a result of the Defendant’s actions, Mr. Potter suffered shame, humiliation,

   embarrassment, emotional/psychological trauma, anguish, and distress, including depressed

   mood, stress, worry, anxiety, and diminished quality and enjoyment of life.


                                     CLAIMS FOR RELIEF

      COUNT 1: 42 U.S.C. § 12182 – ADA PUBLIC ACCOMMODATIONS DISCRIMINATION

21. Paragraphs 1 through 20 are incorporated herein by reference as though fully set forth.

22. Plaintiff is an individual with a “disability” as defined under 42 U.S.C. § 12102.

23. Defendant’s Leisure Suites – Breezy Point Resort is a place of “public accommodation” as

   defined under 42 U.S.C. § 12181.

24. Based on the above factual allegations, Defendant unlawfully discriminated against Plaintiff

   on the basis of his disability in violation of the ADA when it denied Plaintiff access to its

   resort with his service dog Breezer.

25. As a result of these violations, Plaintiff suffered damages as aforesaid.


  COUNT 2: MINN. STAT. § 363A.11 – MHRA PUBLIC ACCOMMODATIONS DISCRIMINATION

26. Paragraphs 1 through 20 are incorporated herein by reference as though fully set forth.

27. Plaintiff is an individual with a “disability” as defined under Minn. Stat. §363A.03.



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28. Defendant’s Leisure Suites – Breezy Point Resort is a “place of public accommodation” as

   defined under Minn. Stat. §363A.03.

29. Based on the above factual allegations, Defendant unlawfully discriminated against Plaintiff

   on the basis of his disability in violation of the MHRA when it denied Plaintiff access to its

   resort with his service dog Breezer.

30. As a result of these violations, Plaintiff suffered damages as aforesaid.



                                     RELIEF REQUESTED

WHEREFORE, Plaintiff requests that this Court grant the following relief:

a. Issue an order granting Plaintiff judgment against Defendant, finding that Defendant

   discriminated against Plaintiff in violation of the ADA and MHRA and that Defendant is

   liable to Plaintiff for all damages resulting from these violations.

b. Award of compensatory damages to Plaintiff against Defendant.

c. Award of punitive damages to Plaintiff against Defendant.

d. Award of reasonable attorney’s fees and costs to Plaintiff pursuant to 42 U.S.C. § 12205 and

   Minn. Stat. § 363A.33.

e. A declaratory judgment, pursuant to 28 U.S.C. § 2201, declaring that (1) Defendant

   unlawfully discriminated against Plaintiff in violation of the ADA and MHRA and (2)

   Defendant’s policies, practices, procedures, and training of employees, specifically

   pertaining to rights of disabled individuals with service animals, are inadequate and in

   violation of the ADA and MHRA.

f. A permanent injunction, ordering Defendant as follows: (1) to immediately terminate any

   and all forms of discrimination against disabled individuals with service animals; (2) to



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   develop and provide proper training for Defendant’s employees on ADA public

   accommodations disability discrimination provisions; (3) to require each current and future

   employee to read and acknowledge understanding of ADA’s 2010 Revised Requirements for

   Service Animals, attached hereto as Exhibit 1; and (4) to require Defendant to display, for a

   period of 12 consecutive months, a visible and conspicuous sign, on the primary public

   entrance to its resort, stating as follows: “Service Animals are Allowed in this Facility.”

g. Award of such other and further relief as this Court may deem appropriate.

                       THE PLAINTIFF HEREBY DEMANDS A JURY TRIAL.



                                         THE LAW OFFICE OF ZORISLAV R. LEYDERMAN


Dated: March 3, 2021                                 By: s/ Zorislav R. Leyderman
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